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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MATTHEW KOTILA, individually and on        Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                            Hon. Hala Y. Jarbou
        Plaintiff,
 v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,                             CLASS ACTION

        Defendant.

            PLAINTIFF’S MOTION FOR PROTECTIVE ORDER
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       Plaintiff Matthew Kotila, individually and on behalf of all others similarly

 situated, respectfully moves this Court to enter a Protective Order pursuant to

 Federal Rule of Civil Procedure 26(c).

       Per the Court’s Order conditionally granting Plaintiff’s Motion to Certify the

 Class, ECF No. 17, “Plaintiff is permitted to conduct discovery in accordance with

 the rules governing non-party witnesses so that Plaintiff can identify the class

 members for purposes of calculating damages.” ECF No. 17, PageID.659 (citing

 Allied Enters., Inc. v. Brillcast, Inc., No. 1:15-cv-749, 2015 WL 13122945, at *3

 (W.D. Mich. Nov. 17, 2015) (permitting similar discovery in the context of a

 default)). In furtherance of these discovery efforts, certain third-parties have

 requested a confidentiality order be entered in this case. As such, Plaintiff files this

 Motion for Protective Order and moves for the Court for entry of the proposed

 Confidentiality Agreement and Protective Order attached hereto as Exhibit 1.

                     BRIEF IN SUPPORT OF PLAINTIFF’S
                     MOTION FOR PROTECTIVE ORDER

       For his Plaintiff’s Brief in Support, Plaintiff relies on the contents of the

 Motion, this Brief in Support, and the accompanying exhibit (Plaintiff’s proposed

 Confidentiality Agreement and Protective Order).

 Dated: July 25, 2023                     Respectfully Submitted,

                                          /s/ E. Powell Miller
                                          E. Powell Miller (P39487)
                                          THE MILLER LAW FIRM, P.C.
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 25, 2023, a true and correct copy of the

 foregoing was served by electronic service via the Court’s CM/ECF service on all

 counsel or parties of record on the service list in the above-entitled action. I further

 certify that a true and correct copy of the foregoing is being sent this same date to

 the persons listed below via prepaid first-class U.S. Mail:

    • Charter Financial Publishing Network, Inc., c/o Cogency Global, 850 New
      Burton Road, Suite 201, Dover, DE 19904

                                         /s/ E. Powell Miller
                                         E. Powell Miller
